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                             UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF NEW YORK

 YIATIN CHU; CHINESE AMERICAN                                  1:24-cv-75 (DNH/CFH)
                                                          No. _____________________
 CITIZENS ALLIANCE OF GREATER
 NEW YORK; INCLUSIVE EDUCATION
 ADVOCACY GROUP; and HIGHER WITH                                  COMPLAINT
 OUR PARENT ENGAGEMENT,

                               Plaintiffs,

                       v.

 BETTY A. ROSA, in her official capacity as
 Commissioner of Education for the State of
 New York,

                               Defendant.


                                       INTRODUCTION

       1.      For thirty-nine years, New York State has funded a racially-discriminatory science

enrichment program for middle and high school students. If “[e]liminating racial discrimination

means eliminating all of it,” then the time has come for New York to open this opportunity to all

students, regardless of race or ethnicity. Students for Fair Admissions v. President and Fellows of

Harvard College, 600 U.S. 181, 206 (2023). Thirty-nine years of discrimination is enough.

       2.      Through the Science and Technology Entry Program (STEP), N.Y. Educ. Law

§ 6454, New York State funds summer and academic-year programs for 7-12 graders at higher

education institutions around the state. These programs give students interested in science,

technology, and related fields a head start to achieve their career goals through tutoring, college

counseling, test prep, and hands-on lab and research opportunities—all free of charge to the

students.




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        3.      However, when it comes to which students are eligible to apply, STEP’s regulations

discriminate based on race and ethnicity. Black, Hispanic, Native American, and Alaskan Native

student applicants are eligible to apply regardless of their family’s income level. All other student

applicants, including Asian and white students, must first prove that their families are

economically disadvantaged. In other words, the Hispanic child of a multi-millionaire is eligible

to apply to STEP, while an Asian American child whose family earns just above the state’s low-

income threshold is not, solely because of her race or ethnicity.

        4.      Today, an individual parent and three Asian-American organizations that are

devoted to fighting for equal opportunity in education bring this civil rights action to vindicate

their equal protection rights under the Fourteenth Amendment to the United States Constitution.

                                 JURISDICTION AND VENUE

        5.      This action arises under the Fourteenth Amendment to the United States

Constitution, through 42 U.S.C. § 1983. The Court has jurisdiction over these federal claims under

28 U.S.C. §§ 1331 (federal question) and 1343(a) (redress for deprivation of civil rights).

Declaratory relief is authorized by the Declaratory Judgment Act, 28 U.S.C. §§ 2201-2202.

        6.      Venue is proper in this District under 28 U.S.C. § 1391(b)(1), as the Defendant

resides within this District.

                                            PARTIES

        7.      Plaintiff Yiatin Chu is a parent and education advocate living in New York City.

Ms. Chu is a co-founder and leader of PLACE NYC and the Asian Wave Alliance, as well as a

member of the Chinese American Citizens Alliance of Greater New York. Ms. Chu’s daughter,

N.C., is Asian American and a New York State resident. N.C. is enrolled in the seventh grade, is

in good academic standing, has an overall GPA above 80, and has above an 80 average in Math,



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Science, and English. N.C. would like to apply for admission to the summer 2024 STEP program

at New York University but cannot because she is subject to additional eligibility requirements

because of her race.

       8.      Plaintiff Chinese American Citizens Alliance of Greater New York (CACAGNY)

is a New York City nonprofit organization organized under Section 501(c)(8) of the Internal

Revenue Code. Its mission is to empower Chinese Americans by advocacy for Chinese-American

interests based on the principles of fairness and equal opportunity, and guided by the ideals of

patriotism, civility, dedication to family and culture, and the highest ethical and moral standards.

CACAGNY has a member whose seventh-grade daughter would like to apply to the summer 2024

STEP program at New York University but cannot because she is subject to additional eligibility

requirements because of her race or ethnicity. See Chu Decl., Exhibit A.

       9.      Plaintiff Inclusive Education Advocacy Group (IEAG) is a New York City

grassroots parent organization whose mission is to fight discriminatory eligibility and admissions

practices that restrict applicants based on race or ethnicity. IEAG believes that state-funded

programs like STEP should be open to New York students of all races and ethnicities equally.

IEAG has a member whose tenth-grade child attempted to apply for the STEP program at CUNY

Baruch College for the summer 2023 STEP program but was ineligible because her race subjected

her to additional income requirements. This IEAG member’s eighth-grade child would like to

apply to the STEP programs at New York University and CUNY Baruch College for summer 2024

but cannot because he is subject to additional eligibility requirements because of his race. See

Redacted Decl., Exhibit B.

       10.     Plaintiff Higher with Our Parent Engagement (HOPE) is a New York City nonprofit

organization with a pending application for Internal Revenue Code Section 501(c)(3) status. Its



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mission is to help Chinese-American parents in the New York City area, particularly those who

are first-generation immigrants, understand the educational opportunities available to their

children and offer guidance in navigating the application process for those opportunities. HOPE

also supports members whose children experience bullying and provides translation services to

empower parents and grandparents to engage with their children’s schools. HOPE has a member

whose sixth-grade son would like to apply to the STEP program at New York University for fall

2024 but cannot because he is subject to additional eligibility requirements because of his race.

See Chen Decl., Exhibit C.

       11.     Defendant Betty A. Rosa is the Commissioner of Education and President of the

University of the State of New York. Commissioner Rosa leads the New York State Education

Department, which administers STEP through the Office of Postsecondary Access, Support, and

Success. By law, the Commissioner of Education establishes the criteria for awarding STEP grants

to higher education institutions, selects grant recipients, approves amendments to grant recipients’

plans of instruction, approves additional criteria for measuring whether a student applicant exhibits

“the potential for college level study if provided with special services,” and is authorized to require

periodic reporting by grant recipients on topics like compliance, curricula, and funding. N.Y. Educ.

Law § 6454(3)(b), (5)(a)-(b), (6), and (8). Commissioner Rosa is sued in her official capacity.

                                   FACTUAL ALLEGATIONS

The Science and Technology Entry Program (STEP)

       12.     STEP, first enacted in 1985, is intended to “assist eligible students in acquiring the

skills, attitudes and abilities necessary to pursue professional or pre-professional study in post-

secondary degree programs in scientific, technical and health-related fields.” N.Y. Educ. Law

§ 6454(2).



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       13.     The statute defines “eligible students” as “secondary school students who are either

economically disadvantaged or minorities historically underrepresented” in the target fields. N.Y.

Educ. Law § 6454(1)(b). Specifically, under regulations promulgated pursuant to STEP, applicants

who are black, Hispanic, American Indian, or Alaskan Native are eligible to apply to a STEP

program regardless of economic status. 8 NYCRR § 145-6.5(a). Applicants who do not meet these

race and ethnicity requirements must demonstrate that they are “economically disadvantaged.”

N.Y. Educ. Law § 6454(1)(b)

       14.     Neither the STEP statute nor its implementing regulations define “economically

disadvantaged.” On its website, the New York State Education Department publishes income

eligibility criteria for STEP. These criteria are defined in the implementing regulations for STEP’s

collegiate counterpart, N.Y. Educ. Law § 6455, as “a member of a household where the total annual

income of such household is equal to or less than 185 percent of the amount under the annual

United States Department of Health and Human Services poverty guidelines for the applicant’s

family size for the applicable year.” 8 NYCRR §§ 27-1.1(b)(1); 27-2.6.

       15.     STEP’s race-based eligibility requirements were not enacted to remedy specific,

identified instances of past discrimination by the institutions receiving STEP funding against

black, Hispanic, Native American, or Alaskan Native student applicants that violated the

Constitution or a statute. Instead, its purpose is to “promote increased access to careers in medicine

and other professional fields for minority and disadvantaged students and to increase the supply of

physicians in medically underserved areas.” Mem. in Support of Legislation, L. 1985, ch. 31.




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        16.       STEP programs are funded through grants awarded by the Commissioner of

Education. N.Y. Educ. Law § 6454(5)(a). Fifty-six colleges, universities, and medical schools

around New York State receive funding through STEP, admitting students in grades 7-12 for

programs that include instruction in core subjects, preparation for the New York State Regents

Exam, supervised practical training, supervised research training, college admissions counseling,

SAT/ACT preparation, and career awareness activities like field trips and college visits.

        17.       In greater New York City, where N.C. and CACAGNY, IEAG, and HOPE’s

members’ children reside, there are 33 higher education institutions that operate STEP programs

for local students. Each institution requires students to meet the STEP race or ethnicity and income

eligibility criteria to qualify for the programs.

        18.       Applications for STEP summer sessions at several participating institutions in the

New York City area will open in February 2024. STEP’s race-based eligibility requirements will

be enforced through racial-screening questions in these applications. For example, the STEP

application 1 for CUNY Baruch College’s middle school program immediately asks about the

student’s race:




1
   CUNY Baruch College, Baruch College Spring 2024 Biology Program application,
https://baruch.az1.qualtrics.com/jfe/form/SV_00zuQuuA7QFvbOS (last visited Jan. 10, 2024).
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       19.    If the applicant chooses Asian or white, the application asks again for confirmation

before requiring proof of family economic status:




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       20.     Applicants to the STEP program operated by New York University’s medical

school are made aware of the racial and ethnic criteria via the program’s website 2:




2
   Columbia University, Eligibility and Selection Criteria, Columbia Vagelos College of
Physicians        and     Surgeons,     https://www.vagelos.columbia.edu/education/academic-
programs/additional-educational-opportunities/summer-youth-programs/middle-high-school-
students/state-pre-college-enrichment-program-s-prep/eligibility-and-selection-criteria (last
visited Jan. 16, 2024).
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       21.     Applicants to Fordham University’s STEP programs are informed of the racial and

ethnic criteria before beginning their applications 3:




STEP’s Impact on Plaintiffs

       22.     Asian American student applicants, like N.C. and the children of the organizational

Plaintiffs’ members, do not meet STEP’s definition of a historically underrepresented minority. 8

NYCRR § 145-6.5(a).

       23.     Student applicants who are black, Hispanic, Native American, or Alaskan Native

are automatically eligible to apply for a STEP opportunity, even if their family’s socioeconomic

status is much higher than an Asian American student applicant’s.

       24.     Because of their race and ethnicity, N.C. and CACAGNY, IEAG, and HOPE

members’ children are excluded from consideration for STEP unless they can demonstrate

economic disadvantage—a requirement that applicants who are black, Hispanic, Native American,

or Alaskan Native are never required to meet.




3
   Fordham University, Fordham University STEP Spring 2024 Program Application
https://docs.google.com/forms/d/e/1FAIpQLScw8IYvkC8UBL9_z8Cxem_fDBW8ypKLe883UepQ
49zt7JZ-ag/formResponse (last visited Jan. 10, 2024).
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        25.     Plaintiffs have no plain, speedy, and adequate remedy at law for this violation of

their right to equal protection. Damages are indeterminate or unascertainable and would not fully

redress Plaintiffs’ harm.

                                        CAUSE OF ACTION

          STEP’s Race-Based Eligibility Requirements Violate the Equal Protection
             Clause of the Fourteenth Amendment, through 42 U.S.C. § 1983

        26.     Plaintiffs allege and incorporate by reference the allegations in the preceding

paragraphs of this Complaint.

        27.     STEP requires student applicants to be treated differently based on their race or

ethnicity.

        28.     Because STEP mandates that student applicants be treated differently based on their

race or ethnicity, it must satisfy strict scrutiny.

        29.     Defendant does not have a compelling interest that justifies STEP’s racial and

ethnic classifications.

        30.     STEP’s racial and ethnic classifications are not narrowly tailored to meet any such

compelling interest.

        31.     Because STEP uses racial and ethnic classifications to determine student applicant

eligibility, furthers no compelling interest, and is not narrowly tailored, it violates the Equal

Protection Clause.

        32.     Plaintiffs have in the past, and, unless enjoined by this Court, will continue to be

harmed in the future by STEP’s racial classifications.

        33.     Accordingly, Plaintiffs are entitled to injunctive and declaratory relief.




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                              PRAYER FOR RELIEF

 Wherefore, Plaintiffs pray for relief as follows:

 1. A judgment declaring that the use of racial classifications and eligibility criteria in N.Y.

    Educ. Law § 6454(1)(b) and 8 NYCRR 145-6.5(a) violates the Fourteenth Amendment

    to the United States Constitution;

 2. Preliminary and permanent injunctions prohibiting Defendant from enforcing the use

    of racial classifications and criteria in N.Y. Educ. Law § 6454(1)(b) and 8 NYCRR

    § 145-6.5(a);

 3. An award to Plaintiffs of such costs and attorneys’ fees as allowed by law; and

 4. Any other relief that the Court deems just and proper.

 DATED: January 17, 2024.                        Respectfully submitted,

                                                  /s/ Caleb J. Kruckenberg
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